UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

FREDERICK SAUNDERS,
individually,

Plaintiff,

vs. CASE NO.: 6:23-cv-0230-RBD-LHP

SIGNATURE FLIGHT SUPPORT
LLC, a Delaware limited company,

Defendant.

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DEFENDANT’S MOTION ON AMOUNT OF FEES AND INCORPORATED
MEMORANDUM OF LAW

Defendant, SIGNATURE FLIGHT SUPPORT LLC, by and through the
undersigned counsel and pursuant to the Court’s Order dated September 12, 2024
[D.E. 105] and Local Rule 7.01, hereby files this Motion on Amount of Fees and
Incorporated Memorandum of Law (“Motion”). In support, Defendant states:

PRELIMINARY STATEMENT

As part of the sanctions against Plaintiff, FREDERICK SAUNDERS
(‘Plaintiff” or “Saunders”), and his counsel, MICHAEL G. MANN (“Plaintiff's
Counsel” or “Mann”), this Court adopted the Magistrate Judge’s Report and
Recommendation to award Defendant its fees and costs as to a variety of issues

outlined in more detail below, to be paid jointly and severally by Saunders and

Mann. The Parties were directed to confer in a good faith attempt to resolve the
amount of fees and costs at issue, and Defendant was permitted to file a motion
pursuant to Local Rule 7.01(c) to determine the amount of fees if the Parties could
not agree to an amount.

Plaintiff contests all of Defendant's fees and costs without context or
information as to the basis for the dispute. On the other hand, counsel for Plaintiff
has engaged in good faith conferrals on the fees and costs. Mann does not dispute
that $23,532.50 is owed to Defendant in fees and that $500.00 is owed to Defendant
in costs, leaving $7,530.00 in fees in dispute. Accordingly, Defendant files this
Motion pursuant to Local Rule 7.01(c) to detail the Parties’ meet-and-confer efforts,
to outline the resolved and unresolved issues, and to provide the Court with a

Memorandum of Law on disputed issues.

PROCEDURAL BACKGROUND

1. On June 4, 2024, Magistrate Judge Leslie Hoffman Price issued a
Report and Recommendation [D.E. 95]. In the Report and Recommendation,
Magistrate Judge Hoffman Price recommended, in part, that Defendant recover
from Plaintiff and Plaintiff's attorney, jointly and severally:

Defendant's reasonable attorneys’ fees and costs for (1) filing the February
12, 2024 and February 15, 2024 motion for sanctions, including authorized
replies (Doc. Nos. 57, 61, 80, 83); (2) Defendant's preparation for and
attendance at the February 14, 2024 mediation, to include its share of the
mediator’s fee; (3) Defendant's preparation for and attendance at the
February 22, 2204 [sic] and March 13, 2024 hearings; and (4) Defendant's

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continued review of Saunders’ text messages between February 9, 2024 (the
date compliance was originally ordered) and the March 13, 2024 hearing,

[D.E. 95, { 5, p. 56]. Magistrate Judge Hoffman Price further recommended that
Defendant be permitted to file a motion for assessment of such fees and costs after
conferring with counsel for Plaintiff in a good faith attempt to resolve the issue.
[D.E. 95, 4 5, p. 56].

2. On September 12, 2024, the Court entered an Order that awarded
Defendant attorneys’ fees and costs as enumerated in the Report and
Recommendation [D.E. 95, p. 56], to be paid jointly and severally by Plaintiff and
his attorney. [D.E. 105]. The Order indicated that if the Parties could not agree on
an amount, Defendant may file a motion to determine the amount by the deadline
set forth in Local Rule 7.01. [D.E. 105].

3. Plaintiff did not appeal the Court’s Order and the deadline for doing
so has passed.

Meet and Confer Efforts!

4, On September 23, 2024, counsel for Defendant advised Mann that
Defendant's awarded fees and costs totaled $32,939.50 and asked whether Mann

had any time that week to discuss. On September 24, 2024, Mann requested a full

1 Mann indicated that Defendant can and should include the representations herein as to
Saunders’ position on Defendant's entitlement to fees. As such, based on Mann's
representations, Defendant does not believe this information constitutes confidential
settlement communication that needs to be preserved pursuant to Local Rule 7.01(c)(1).

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report of the fees and expenses but advised that Saunders “refuses to discuss at
this point.” The following day, counsel for Defendant provided Mann with a
spreadsheet of fees and a copy of the mediator’s invoice for Defendant's portion
of the mediation fee. Counsel for Defendant requested that Mann provide his
position on the fees and expenses within the next week or two given Defendant's
October 28, 2024, deadline to file a motion on the amount of fees pursuant to Local
Rule 7.01 (c).

5. On October 16, 2024, counsel for Defendant followed up with Mann
and advised that if the Parties could not come to an agreement, Defendant would
need to file a motion with the Court. Counsel for Defendant requested a response
by the end of that week.

6. Counsel for the Parties participated in a conferral call that day, During
the call, Mann did not provide his stance on specific entries in the spreadsheet, but
rather advised counsel for Defendant that he could not “get anywhere” with
Saunders. Counsel for Defendant reminded Mann of their deadline to file this
Motion. After the call, Mann indicated that he would provide his questions and
comments about certain entries the next day.

7, Mann provided his questions and comments on the evening of
Friday, October 18, 2024. He marked every single line item as either “Dispute,”

“TBD,” “FS” or “N/A” and at the end, included a breakdown of the fees under

each category. Mann also included notes for every single line item. Many of the
notes, however, were confusing, incorrect, or did not provide enough information
to help Defendant’s counsel determine whether the item was in dispute. For
example, next to every line item related to the Court Ordered mediation for which
Defendant had been awarded fees for its preparation and attendance, Mann
indicated “ Already paid mediation fees,” which was not correct.

8. On October 21, 2024, counsel for Defendant emailed Mann for
clarification related to his comments in the spreadsheet.

9. Later that day, counsel for Defendant called Mann to follow-up on the
email. During that call, Mann indicated that Saunders was disputing all time
entries and would not be agreeing to anything. Mann, however, advised that he
was only disputing the line items designated “Dispute,” and was not contesting
anything marked “TBD,” “FS” or “N/A.” Mann further indicated that his
comments for the entries not marked “Dispute” were for him to argue
apportionment with his client, Counsel for the Parties further discussed the fact
that while Saunders may have paid his half of the mediator’s fees, he had not paid
for the preparation and attendance of Defendant's counsel at the mediation (which
were many of the disputed items) or Defendant's half of the mediator’s fees, as
well as the basis for why other entries fell into the categories of fees awarded by

the Court. Defendant's counsel asked Mann to provide an updated spreadsheet

confirming which line items he disputed that afternoon and Mann agreed.

10. Mann provided an updated spreadsheet that afternoon. The
spreadsheet was reformatted and included three additional columns: “Plaintiff's
Counsel,” “Plaintiff Saunders,” and “Docket Entry #.” Under the column labeled
“Plaintiffs Counsel,” the updated spreadsheet marked line items as “Dispute,”
“Undispute,” and “Pending,” which Mann identified as items for which he needed
more information on whether there is a dispute. At the end of the spreadsheet,
Mann indicated the amount in fees that were undisputed, disputed or pending
additional information.

11. Under the column “Plaintiff Saunders,” every line item was marked
“Pending.” Mann indicated “Pending” means that Saunders had not asserted the
basis for a dispute. Mann indicated that Saunders disputed all fees.

12. On October 22, 2024, counsel for Defendant provided comments to
Mann on each line-item Mann marked “Dispute” and “Pending” and suggested
that counsel for the Parties schedule a call to discuss.

13. On October 23, 2024, counsel for Defendant followed up with Mann
on the status of his review of the revised spreadsheet and comments and advised
that she was available for a call that day to discuss. Mann indicated that he would
try to get through the spreadsheet that day. Counsel for the Parties connected for

a short call on October 23, during which counsel for Defendant stressed that Mann

provide his position on certain line items for this Motion.

14. On October 24, 2024, Mann provided an updated spreadsheet
wherein he removed several entries from “Dispute” and “Pending” to
“Undispute.” Mann also indicated that he did not dispute the invoice reflecting
Defendant's portion of the mediator’s fee.

15. On October 24, 2024, counsel for Defendant made a final attempt to
resolve the remaining items marked “Dispute” and “Pending.” In a good faith
attempt to resolve all issues, counsel for Defendant removed 17 line items, which
arguably included actions that were a step removed from those for which the
Court ordered the payment of fees, updated Defendant's responses to the
remaining line items marked “Dispute” and “Pending” in the spreadsheet, and
asked Mann to advise by October 28, 2024 whether this resolved any remaining
disputes. Counsel for Defendant followed-up with Mann on October 28, 2024.
Mann responded that Saunders disputed all fees, marking every line item under
column “Plaintiff Saunders,” as “Dispute.” Counsel for the Parties did not come
to an agreement as to any additional line items.

Resolved and Unresolved Issues

As reflected in the most recent iteration of the spreadsheet — see Exhibit A—
Mann does not dispute the rate or hour of the entries in Exhibit A and does not

dispute line items 13, 15-23, 28-44, 46-79, 81-82, 86, 90, 94-96, 102, 107, 109, 113-114,

116-117, 120-123, 126, 128-130, 133-135, 137-141, 143, and 144-147 which amounts
to $23,532.50 in fees. Exhibit A. Also, as stated above, Mann does not dispute the
$500.00 invoice reflecting Defendant's portion of the mediator’s fee. As such,
counsel for Defendant respectfully asserts that a total of $24,032.50 in fees and costs
have been resolved and are owed to Defendant, and that the only unresolved issue
between Mann and Defendant is whether line items 5-12, 14, 24-27, 45, 80, 97-99,
101, 105-106, 111-112, 115, 118-119, 124-125, 127, 131-132, 136, 142 fall within the
scope of the Court’s Order on fees. Exhibit A.

16. Plaintiff apparently continues to dispute every single line item in
Exhibit A but has failed to provide any context or information as to the basis for
the dispute.? Exhibit A,

17. Below, Defendant provides a memorandum of law on any disputed

issue for further consideration by this Honorable Court.

MEMORANDUM OF LAW

Local Rule 7,01 provides that within 45-days after an Order determining
entitlement, the party claiming fees and expenses must file a supplemental motion

that:

2 To the extent Plaintiff or counsel for Plaintiff, on his behalf, raises for the first-time
disputes with counsel for Defendant's rate, hour or non-taxable expense, Defendant
reserves the right to supplement its Motion with a Memorandum of Law on any newly
raised issues.

1) describes the meet-and-confer effort but preserves any
confidential settlement communication;
2) specifies the resolved and unresolved issues;
3) includes a memorandum of law on any disputed issue;
4) includes for any disputed rate or hour:
the timekeeper’s identity, experience and qualification
the timekeeper’s requested hours
each task by the timekeeper during those hours
the timekeepers requested rate
lead counsel’s verification that counsel charges the rate
requested, has reviewed each task, and has removed
each charge for a task that is excessive, duplicative,
clerical and otherwise unreasonable
f. evidence showing the reasonableness of the rates based
on the prevailing market rate in the division in which the
action is filed for similar services by a lawyer of
comparable skill, experience, and reputation; and
5) includes for a disputed non-taxable expense:
a. areceipt for, or other evidence of, the expense and
b. lead counsel’s verification that counsel incurred the
expense.

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Mann — against whom fees were awarded jointly and severally — does not dispute
that Defendant is owed $24,032.50 in fees and costs?. Counsel for Plaintiff also does
not dispute the rate or hour of the entries in Exhibit A. The only unresolved issue
is whether line items 5-12, 14, 24-27, 45, 80, 97-99, 101, 105-106, 111-112, 115, 118-
119, 124-125, 127, 131-132, 136, 142 fall within the scope of the Court’s Order on

fees. Exhibit A.

3 As stated above, counsel for Plaintiff indicated that Plaintiff was disputing everything
and would not be agreeing to anything. Plaintiff has not provided the basis for his
dispute.

Defendant asserts the following line items in Exhibit A fall under the
categories of fees this Honorable Court awarded to Defendant, and provides its
explanation below:

Line items 5-10, 45, 99 fall under the Court's award of fees for preparation
for and attendance at the Court Ordered mediation. [D.E. 95, 7 5, p. 56; D.E. 106,
p. 3-4].

Line items 80, 97, 101, 111, 115, 118-119, 127, 131-132, 136 and 142 fall under
the Court’s award of fees for Defendant's preparation for and attendance at the
February 22, 2024, and March 13, 2024, hearings. [D.E. 95, § 5, p. 56; D.E. 106, p. 3-
4].

Line items 11-12, 14, and 24-27 fall under the Court's award of fees for filing
the Notice of Non-Compliance and Motion for Sanctions [D.E. 57]. [D.E. 95, 5, p.
56; D.E. 106, p. 3-4].

Line item 98 falls under the Court’s award of fees for filing Defendant's
Supplemental Brief Supporting Non-Compliance [D.E. 80]. [D.E. 95, { 5, p. 56; D.E.
106, p. 3-4].

Line items 99, 105-106, 112 fall under the Court’s award of fees for filing
authorized replies [D.E 83]. [D.E. 95, ¥ 5, p. 56; D.E. 106, p. 3-4]. Specifically, the
Court’s Order dated February 22, 2024 [D.E. 67] ordered that Mann file an affidavit

identifying with specificity certain information about discovery (including

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evidence that Mann wished for the Court to consider) and that, in turn, Defendant
may file an affidavit addressing any averments made in Mann’s affidavit
(including evidence that Defendant wished for the Court to consider). To comply
with this Order and prepare a responding affidavit, counsel for Defendant had to
review Mann’s affidavit (including evidence submitted).

Line items 118-119 fall under the Court's award of fees associated with
Defendant's continued review of text messages between February 9, 2024, to
March 13, 2024. [D.E. 95, | 5, p. 56; D.E. 106, p. 3-4].

Line items 124-125 fall under Court's award of fees for filing authorized
replies and for preparing for the hearing. [D.E. 95, { 5, p. 56; D.E. 106, p. 3-4].
Defendant was required by the Court to file the document reflected in these line
items for the March 13, 2024, hearing. [D.E. 84].

WHEREFORE, Defendant respectfully requests an Order from the Court
awarding fees and costs in the amount of $31,562.50 to be paid jointly and severally

by Mann and Saunders, and any other such relief as this Court deems just and

proper.

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DATED this 28th day of October 2024.

Respectfully submitted,

JACKSON LEWIS P.C.

390 N. Orange Avenue, Suite 1285
Orlando, Florida 32801
Telephone: (407) 246-8440
Facsimile: (407) 246-8441

By: /s/ Lin J, Wagner
Lin J. Wagner
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Amanda A. Simpson
Florida Bar No. 0072817
amanda.simpson@jacksonlewis.com

Attorneys for Defendant

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on 28th day of October 2024, the foregoing was
electronically filed with the Clerk of the Court by using the CM/ECF system,
which will send a notice of electronic filing to: Michael G. Mann, Esq., The Mann
Firm, LLC, 707 E. Cervantes St., Suite B, Pensacola, FL 32501.

/s/ Lin ]. Wagener
Lin J. Wagner

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EXHIBIT A

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